                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                             File No.


SPURTREE TECHNOLOGIES PRVT.,
LTD.,

                       Plaintiff,
                                                        COMPLAINT
       v.

iCOOL TECHNOLOGIES, INC. and JAY
PRAKASH MADAN,

                       Defendants.


       Plaintiff, complaining of Defendants, alleges as follows:

                           PARTIES, JURISDICTION, AND VENUE

       1.      Plaintiff SpurTree Technologies Pvt., Ltd. (“SpurTree”) is a company organized

and existing under the laws of India. It is headquartered at No. 419, 7th Cross, Domulur Layout,

Bangalore, Karmataka, India.

       2.      Defendant iCool Technologies, Inc. (“iCool”) is a North Carolina corporation

authorized and existing under the laws of the State of North Carolina with a principle place of

business in Wake County, North Carolina.

       3.      Defendant Jay Prakash Madan is a resident of Wake County, North Carolina, and

he is the President of iCool.

       4.      This Court has original jurisdiction over this matter pursuant to 28 U.S.C.

§ 1332(a) in that Defendants are citizens of a State and Plaintiff is a citizen of a foreign state, and

the amount in controversy, exclusive of interest and costs, exceeds the sum of $75,000.00.




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        5.       Venue is proper in this Court because the Defendants are present in this

jurisdiction.

                                               FACTS

        6.       On November 7, 2013, for valuable consideration, Defendants executed and

delivered to SpurTree a promissory note (the “Note”) in the principal amount of four hundred

fifty thousand dollars ($450,000.00) to be paid in accordance with the following schedule, with a

five-day grace period to allow for delivery of a check or wiring of funds:

                       Payment 1: $180,000 USD to be paid before November 15, 2013

                       Payment 2: $90,000 USD to be paid before November 25, 2013

                       Payment 3: $90,000 USD to be paid before December 25, 2013

                       Payment 4: $90,000 USD to be paid before January 25, 2014

A copy of the Note is attached as Exhibit 1.

        7.       The Note is secured by the accounts receivable of iCool located in Wake County,

North Carolina.

        8.       Madan executed the Note in North Carolina on behalf of himself personally and

on behalf of iCool. The Note is a joint and several obligation of iCool and Madan.

        9.       Defendants never made any payment on the Note.

        10.      Upon each missed payment, the balance owed began accruing 5% interest

pursuant to the terms of the Note.

        11.      On September 11, 2014 and October 13, 2014, counsel for SpurTree sent letters to

Defendants demanding payment of the outstanding balance of the Note. Copies of those demand

letters are attached as Exhibits 2 and 3. The September demand letter included an admonition to

Defendants that SpurTree would be entitled to recover attorneys’ fees from Defendants in any

action to collect on the Note.

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          12.      As of September 11, 2014, Defendants owed four hundred fifty thousand dollars

($450,000.00), plus interest (at the 5% rate) of $16,693.16. The calculations arriving at that

amount of interest are shown in Exhibit B to counsel’s September 11, 2014 letter to Defendants.

          13.      The Note contains an acceleration clause allowing SpurTree, upon a default, to

declare the entire principal due and payable. That clause also provides that when it is invoked,

the interest rate on the amount due changes from 5% to 18%. SpurTree, through counsel,

invoked that clause in its September 11, 2014 letter to Defendants (Exhibit 2). Thus from

September 11, 2014 through the date of judgment in this case, interest is accruing on the

principal amount owed at the rate of 18% per annum, which equates to two hundred twenty-one

dollars and ninety-two cents ($221.92) per day.

          14.      Defendants have not made any payments on the Note in response to the demand

letters sent by SpurTree’s counsel.

          15.      On January 26, 2015, the same day as this complaint was filed, the undersigned

counsel for SpurTree delivered, by hand delivery and by mail, an additional demand letter to

Defendants.       A copy of that demand letter is attached as Exhibit 4.        In that letter, the

undersigned notified Defendants -- in compliance with N.C. Gen. Stat. § 6-21.2(5) -- that if they

paid the outstanding balance within five (5) days, they would not be responsible for paying

SpurTree’s attorneys’ fees, but that if they failed to make such payment in that timeframe,

SpurTree would seek to enforce Defendants’ obligation to pay SpurTree’s attorneys’ fees in this

action.

          16.      SpurTree has no obligation to foreclose any of its collateral before pursuing a

judgment against Defendants for the balance of the Note.




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                      CLAIM FOR RELIEF -- BREACH OF CONTRACT

       17.      SpurTree incorporates by reference as if fully set forth herein the allegations of

the preceding paragraphs.

       18.      By failing to make the payments as agreed in the Note, Defendants have breached

their contract with SpurTree.

       19.      SpurTree has been damaged by Defendants’ breach of contract in the principal

amount of four hundred fifty thousand dollars ($450,000.00).



       WHEREFORE, Plaintiff requests that the Court:

             1. Award SpurTree the sum of four hundred fifty thousand dollars ($450,000.00) for

                Defendants’ breach of contract;

             2. Award SpurTree prejudgment interest at the rate of 5% per annum on the

                principal amounts owed through September 11, 2014 and 18% per annum on the

                principal amount owed from September 11, 2014 until the date judgment is

                entered;

             3. Award SpurTree post-judgment interest at the legal rate until the judgment is paid

                in full;

             4. If Defendants did not pay the amount due within five days of the January 26, 2015

                letter from SpurTree’s counsel, award SpurTree, pursuant to N.C. Gen. Stat. § 6-

                21.2, its reasonable attorneys’ fees in the amount of fifteen percent (15%) of the

                principal and interest owing on the Note at the time this suit was instituted, which

                equates to $74,531;

             5. Award SpurTree the costs of this action;



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   6. Hold that Defendants are jointly and severally liable for the monetary awards

      ordered by the Court; and

   7. Award SpurTree such other and further relief as to the Court may seem just and

      proper.


Dated: January 26, 2015

                           By:     /s/ John A. Zaloom
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